        Case 2:20-cv-13134-LVP-RSW ECF No. 52, PageID.3168 Filed 12/04/20 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                Eastern District
                                             __________  DistrictofofMichigan
                                                                      __________


                     Timothy King, et al.                      )
                             Plaintiff                         )
                                v.                             )      Case No.     2:20-cv-13134-LVP-RSW
                  Gretchen Whitmer, et al.                     )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Amicus Curiae Michigan State Conference NAACP                                                                .


Date:          12/04/2020
                                                                                         Attorney’s signature
                                                                                                    sign


                                                                                        Jon M. Greenbaum
                                                                                     Printed name and bar number
                                                                          Lawyers' Committee for Civil Rights Under Law
                                                                                  1500 K Street NW, Suite 900
                                                                                     Washington, DC 20005

                                                                                               Address

                                                                                 jgreenbaum@lawyerscommittee.org
                                                                                            E-mail address

                                                                                          (202) 662-8315
                                                                                          Telephone number

                                                                                          (202) 783-0857
                                                                                             FAX number
